                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                No. 06-CR-103-LRR
 vs.                                                             ORDER
 DONGYAN HUANG and
 ZHANG JIAN LONG,
                Defendants.
                                 ____________________


        The matters before the court are Defendant Dongyan Huang and Defendant Zhang
Jian Long’s Joint Motion to Suppress Physical Evidence (“Joint Motion”) (docket no. 9),
Joint Brief in Support of Their Motion to Suppress All Evidence (“Joint Brief”) (docket
no. 39) and Supplement to Their Joint Brief in Support of Their Joint Motion to Suppress
All Evidence (“Supplemental Joint Brief”) (docket no. 43) (collectively referred to as
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“Motion”) and Magistrate Judge Paul A. Zoss’s Partial Report and Recommendation
(docket no. 45).
                              I. PROCEDURAL HISTORY
        On July 26, 2006, Defendant Dongyan Huang (“Defendant Huang”) and Defendant


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         Magistrate Judge Paul A. Zoss addressed Defendant Huang and Defendant
Zhang’s Joint Brief as a supplement to their Joint Motion to Suppress Physical Evidence.
Although Local Rule 7.1 provides that motions and requests for court action be filed in a
“motion” with, in most instances, a supporting brief filed the same day, the court finds that
Magistrate Judge Zoss’s approach was correct. The court shall address Defendant Huang
and Defendant Zhang’s Joint Motion, Joint Brief and Supplemental Joint Brief as one
motion to suppress.


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Zhang Jian Long (“Defendant Zhang”) were charged in a two-count Indictment. The
Indictment was filed on July 31, 2006. On September 8, 2006, Defendant Huang and
Defendant Zhang were charged in a four-count Superseding Indictment. The Superseding
Indictment charged the following:
                On or about July 5, 2006, in the Northern District of Iowa,
                [Defendant Huang] and [Defendant Zhang], did intentionally
                traffic in the following goods knowingly using on or in
                connection with such goods counterfeit marks, to wit spurious
                marks identical to or substantially indistinguishable from
                legitimate Trademarks, which marks are in use and are
                registered for those goods on the principal register of the
                United States Patent and Trademark Office, the use of which
                counterfeit marks is likely to cause confusion, to cause
                mistake, and to deceive:

      Count Goods Containing Counterfeit Mark             Legitimate Trademark
      One Cellular Telephone Accessories                  Playboy Rabbit Head Design
      Two Markers                                         SHARPIE Stylized Word Mark
      Three Purses, Sunglasses, & Wallets                 Coach Signature “C”
      Four Sunglasses                                     Cartier Stylized Word Mark

                This is in violation of 18, United States Code, Section 2320(a).

      On September 1, 2006, Defendant Huang and Defendant Zhang filed their Joint
Motion, which seeks to suppress evidence seized pursuant to several search warrants. On
September 18, 2006, the government filed a resistance (“Resistance”).                      On
October 6, 2006, the government supplemented its Resistance (“Supplemental
Resistance”).
      On October 20, 2006, Defendant Huang and Defendant Zhang filed their Joint
Brief, in which they added a request to suppress statements they made to law enforcement
officers. On October 26, 2006, the government filed a second supplement to its Resistance


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(“Second Supplemental Resistance”). On October 30, 2006, Defendant Huang and
Defendant Zhang filed their Supplemental Joint Brief.
      On October 30, 2006, Magistrate Judge Zoss held a hearing (“Hearing”) on
Defendant Huang and Defendant Zhang’s Motion. During the Hearing, Magistrate Judge
Zoss ordered Defendant Huang and Defendant Zhang to file a brief in support of their
Supplemental Joint Brief. Due to a problem with the interpreter, the Hearing was
postponed.
      On October 31, 2006, Magistrate Judge Zoss filed a Partial Report and
Recommendation which recommended denying the portion of Defendant Huang and
Defendant Zhang’s Motion that sought to suppress evidence seized pursuant to the search
warrants. Magistrate Judge Zoss reserved his recommendation regarding the suppression
of Defendant Huang and Defendant Zhang’s statements until an evidentiary hearing on that
portion of Defendant Huang and Defendant Zhang’s Motion could be held. Defendant
Huang and Defendant Zhang did not file an objection to the October 31, 2006 Partial
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Report and Recommendation.
      The court, therefore, finds the portion of Defendant Huang and Defendant Zhang’s
Joint Motion that seeks to suppress evidence seized pursuant to the search warrants fully
submitted and ready for decision.


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        On November 1, 2006, Defendant Huang and Defendant Zhang filed a Joint Brief
in Support of Their Motion to Suppress All Statements (“Joint Brief to Suppress
Statements”) (docket no. 47). On November 6, 2006, the government filed a Resistance
to Defendant Huang and Defendant Zhang’s Joint Brief to Suppress Statements (docket no.
48). On November 8, 2006, Magistrate Judge Zoss held a status hearing (docket no. 51).
On November 9, 2006, Magistrate Judge Zoss found the portion of the Motion requesting
the suppression of Defendant Huang’s statements moot (docket no. 53). Magistrate Judge
Zoss reserved his recommendation on the portion of the Motion requesting the suppression
of Defendant Zhang’s statements (docket no. 51).

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                                     II. ANALYSIS
       The district court judge is required to make a de novo determination of those
portions of a magistrate judge’s report and recommendation to which a movant objects.
28 U.S.C. § 636(b)(1)(C); see also United States v. Lothridge, 324 F.3d 599, 600 (8th
Cir. 2003). The district court judge may accept, reject or modify, in whole or in part, the
magistrate judge’s findings or recommendations. 28 U.S.C. § 636(b)(1); see also United
States v. Trice, 864 F.2d 1421, 1424 (8th Cir. 1988). Objections to the October 31, 2006
Partial Report and Recommendation were due on November 7, 2006. Neither Defendant
Huang nor Defendant Zhang filed an objection. Accordingly, the court adopts Magistrate
Judge Zoss’s October 31, 2006 Partial Report and Recommendation in its entirety.
                                  III. CONCLUSION
       IT IS ORDERED:
       (1)    The court DENIES, in part, and RESERVES RULING, in part, on
              Defendant Dongyan Huang and Defendant Zhang Jian Long’s Motion
              (docket nos. 9, 39 and 43);
       (2)    The Clerk of Court is directed not to satisfy the Joint Motion to Suppress
              Physical Evidence (docket no. 9), the Joint Brief in Support of Their Motion
              to Suppress All Evidence (docket no. 39) and the Supplement to Their Joint
              Brief in Support of Their Joint Motion to Suppress All Evidence (docket no.
              43) at this time;
       (3)    The court ADOPTS Magistrate Judge Zoss’s Partial Report and
              Recommendation of October 31, 2006 (docket no. 45); and
       (4)    The period between the filing of Defendants’ Motion and this Order is
              excluded from calculation under the Speedy Trial Act.            18 U.S.C.
              § 3161(h)(1)(F) (excluding “delay resulting from any pretrial motion, from

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       the filing of the motion through the conclusion of the hearing on, or other
       prompt disposition of, such motion”); 18 U.S.C. § 3161(h)(1)(J) (excluding
       “delay reasonably attributable to any period, not to exceed thirty days,
       during which any proceeding concerning the defendant is actually under
       advisement by the court”).


 DATED this 9th day of November, 2006.




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